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18-03-5291
                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

ESTATE OF COURTNEY                              )
COPELAND, Deceased, by                          )
SHAPEARL WELLS,                                 )
Independent Administrator                       )
                                                )
                         Plaintiff,             )
                                                )
                 v.                             )       No.    18 CV 01596
                                                )
CITY OF CHICAGO, CHICAGO                        )       Honorable Rebecca R. Pallmeyer
POLICE OFFICER ANDREW                           )
BLOCK, CHICAGO POLICE                           )       Magistrate Judge Hon. Young B. Kim
OFFICER JAVIER ESCANIO,                         )
CHICAGO POLICE OFFICER                          )
RYAN LEON, UNKNOWN                              )
JOHN DOE CHICAGO POLICE                         )
OFFICERS 1-10, UNKNOWN                          )
CHICAGO FIRE DEPARTMENT                         )
 PERSONNEL 1-10                                 )
                                                )
                         Defendants.            )

                                               ANSWER

          NOW COME the Defendants, CITY OF CHICAGO, LIEUTENANT ANDREW

BLOCK, OFFICER JAVIER ESCANIO and OFFICER RYAN LEON (collectively

“Defendants” or individually-named defendants as “Defendant-Officers”), by and through

their attorneys, Hartigan & O’Connor, P.C., and for their Answer to Plaintiff’s Complaint,

filed March 3, 2018, Affirmative and Other Defenses, and Jury Demand, state the

following:1


1
    These Defendants make no answer on behalf of any unknown or unidentified officers and, thus, make
     no answer on behalf of the unidentified “Unknown John Doe Chicago Police Officers 1-10” and
     “Unknown Chicago Fire Department Personnel 1-10.”

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                                         Introduction

       1.      This is a civil rights action. On March 4, 2016, Courtney Copeland, a 22

year old African-American male, lost his life. Chicago Police Officers and personnel

from the Chicago Fire Department failed to give first aid and medical care to Copeland,

who had been shot by an unknown private citizen.

       ANSWER:        Defendants admit that this is a “civil rights action.” Defendants

further admit that Courtney Copeland was pronounced at 02:01 hours on March 4,

2016. Defendants deny the remainder of paragraph one (1).



                                   Jurisdiction and Venue

       2.      The Jurisdiction of the court is invoked pursuant to the Civil Rights Act, 42

U.S.C. § 1983 et seq; the Judicial Code, §§ 1331 and 1343(a); and the Constitution of

the United States. Venue is proper in this District under 28 U.S.C. § 1391(b). The

parties reside, or, at the time the events took place, resided in this judicial district, and

the events giving rise to the plaintiff's claims also occurred in this judicial district.

       ANSWER:        Defendants admit Plaintiff’s paragraph two (2).



                                            Parties

       3.      Shapearl Wells was appointed Independent Administrator of the Estate of

Courtney Copeland, deceased, by the Probate Division of the Circuit Court of Cook

County, Illinois.

       ANSWER:        Pursuant to FRCP 8(b)(5), Defendants have knowledge

insufficient to either admit or deny Plaintiff’s paragraph three (3).

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       4.     Shapearl Wells is a resident of Cook County, Illinois and is the mother of

Courtney Copeland.

       ANSWER:      Defendants admit Plaintiff’s paragraph four (4).



       5.     Defendant Officer Andrew Block was, at all times relevant to the

allegations made in this complaint, a duly appointed police officer employed by the City

of Chicago, Illinois, acting within the scope of his employment with the City of Chicago

and under the color of state law. He is sued in his individual capacity.

      ANSWER:       Defendant, BLOCK, admits the allegations in Plaintiff’s

paragraph five (5), but denies any allegations of misconduct or other wrongdoing

alleged herein.



       6.     Defendant Officer Javier Escanio was, at all times relevant to the

allegations made in this complaint, a duly appointed police officer employed by the City

of Chicago, Illinois, acting within the scope of his employment with the City of Chicago

and under the color of state law. He is sued in his individual capacity.

      ANSWER:       Defendant, ESCANIO, admits the allegations in Plaintiff’s

paragraph six (6), but denies any allegations of misconduct or other wrongdoing

alleged herein.



       7.     Defendant Officer Ryan Leon was, at all times relevant to the allegations

made in this complaint, a duly appointed police officer employed by the City of Chicago,



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Illinois, acting within the scope of his employment with the City of Chicago and under

the color of state law. He is sued in his individual capacity.

       ANSWER:       Defendant, LEON, admits the allegations in Plaintiff’s

paragraph seven (7), but denies any allegations of misconduct or other

wrongdoing alleged herein.



       8.     Defendant unknown John Doe Officers 1-10, were, at all times relevant to

the allegations made in this complaint, duly appointed police officers employed by the

City of Chicago, Illinois, acting within the scope of their employment with the City of

Chicago and under the color of state law. Each is sued in his individual capacity.

       ANSWER:       Pursuant to FRCP 8(b)(5), Defendants have

knowledge insufficient to either admit or deny Plaintiff’s paragraph eight (8).



       9.     Defendant unknown Chicago Fire Department Personnel 1-10, were, at all

times relevant to the allegations made in this complaint, duly appointed Chicago Fire

Department emergency medical personnel employed by the City of Chicago, Illinois,

acting within the scope of their employment with the City of Chicago and under the color

of state law. Each is sued in his individual capacity.

       ANSWER:       Pursuant to FRCP 8(b)(5), Defendants have

knowledge insufficient to either admit or deny Plaintiff’s paragraph nine (9).



       10.    Defendant City of Chicago, Illinois, a municipality duly incorporated under

the laws of the State of Illinois, is the employer and principal of the defendant officers

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and the defendant emergency medical personnel. The City of Chicago is responsible for

the policies, practices and customs related to its maintenance of a police force.

      ANSWER:       Defendants admit that the City is a municipal corporation duly

incorporated under the laws of the State of Illinois, admits that the City is the

employer of Lieutenant Andrew Block, Officer Javier Escanio and Officer Ryan

Leon, and, pursuant to FRCP8(b)(5), have knowledge insufficient to either admit

or deny whether the City is the employer of the unidentified “Unknown John Doe

Chicago Police Officers 1-10” and “Unknown Chicago Fire Department Personnel

1-10. Answering further, Defendants deny the remaining allegations contained in

this paragraph because these allegations contain a legal conclusion and contain

a vague, incomplete and/or inaccurate statement of the law.



                                          Facts

      11.     On March 4, 2016, at approximately 1:15 a.m., Courtney Copeland was

driving from his home in Cicero, Illinois to a friend's house in Chicago's Belmont-Craigin

neighborhood, when a bullet from an unknown private citizen's gun struck him in his

upper back.

      ANSWER:       Defendants admit that Plaintiff’s decedent was shot by an

unknown assailant. Pursuant to FRCP 8(b)(5), Defendants have

knowledge insufficient to either admit or deny the remaining allegations of

Plaintiff’s paragraph eleven (11).




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        12.   After being shot, Courtney Copeland drove himself towards the 25th

District Chicago Police Department station at 5555 West Grand Avenue, Chicago,

Illinois.

        ANSWER:     Defendants admit that Plaintiff’s decedent’s vehicle was at said

address.



        13.   At or near the 25th District Chicago Police Department station, Courtney

Copeland flagged down defendant officer Andrew Block then told defendant officer

Block that he (Copeland) had been shot.

        ANSWER:     Defendant, BLOCK, admits Plaintiff’s paragraph thirteen (13).



        14.   After hearing that Copeland had been shot, defendant officer Andrew

Block called for an ambulance.

        ANSWER:     Defendant, BLOCK, admits that he requested an ambulance.



        15.   Shortly before or after defendant officer Andrew Block called for an

ambulance other defendant officers, including defendant officers Javier Escanio,

defendant officer Ryan Leon, and other defendant unknown John Doe officers 1-10

arrived on the scene.

        ANSWER:     Defendants, ESCANIO and LEON, admit that they were

dispatched to the scene shortly after Lieutenant BLOCK had requested an

ambulance.



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        16.   After defendant officer Andrew Block called for an ambulance, other

defendant officers and defendant unknown John Doe Chicago Fire Department medical

personnel 1-10 arrived on the scene.

        ANSWER:     Defendants admit Plaintiff’s paragraph sixteen (16).



        17.   After defendant officer Andrew Block called for an ambulance, he and/or

defendant officer Javier Escanio, defendant officer Ryan Leon, and other defendant

unknown John Doe officers 1-10 took Courtney Copeland into custody, by, among other

things, barring him from leaving the scene and by handcuffing him.

        ANSWER:     Defendants deny the allegations of Plaintiff’s paragraph

seventeen (17).



        18.   Before defendant unknown John Doe Chicago Fire Department medical

personnel 1-10 defendant arrived on the scene, defendant officer Andrew Block,

defendant officer Javier Escanio, defendant officer Ryan Leon, and other defendant

unknown John Doe officers 1-10 failed to give Courtney Copeland first aid and medical

care.

        ANSWER:     Defendants deny the allegations of Plaintiff’s paragraph

eighteen (18).



        19.   After defendant unknown John Doe Chicago Fire Department medical

personnel 1-10 defendant arrived on the scene, they – in concert with defendant officer

Andrew Block, defendant officer Javier Escanio, defendant officer Ryan Leon, and other

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defendant unknown John Doe officers 1-10, failed to timely give, and sustain the giving

of, first aid and medical care to Courtney Copeland.

      ANSWER:       Defendants deny the allegations of Plaintiff’s paragraph

nineteen (19).



       20.    As a result of the failure of the defendant police officers and defendant

Chicago Fire Department medical personnel timely give, and sustain the giving of, first

aid and medical care to Courtney Copeland, Copeland died en route to Illinois Advocate

Masonic Hospital.

      ANSWER:       Defendants admit that Plaintiff’s decedent was pronounced at

or around 02:01 hours. Defendants deny the remaining allegations of Plaintiff’s

paragraph twenty (20).



       21.    On information and belief, the defendant police officers and the defendant

Chicago Fire Department medical personnel, jointly agreed and/or conspired with one

another to prepare false, misleading, and incomplete official reports and to give a false,

incomplete, and misleading versions of the events of March 4, 2016, for the purpose of,

among other things, protecting the defendant officers and the defendant Chicago Fire

Department medical personnel and the City of Chicago from the potential

consequences of the misconduct alleged in this complaint and to cover up that

misconduct.

      ANSWER:       Defendants deny the allegations of Plaintiff’s paragraph

twenty-one (21).

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       22.    The actions of the Defendant and his unnamed co-conspirators, as

alleged in this complaint, were done jointly, in concert, and with shared intent and,

therefore, constitute a continuing civil conspiracy under 42 U.S.C. § 1983.

       ANSWER:       Defendants deny the allegations of Plaintiff’s paragraph

twenty-two (22).


                                      Count 1
      42 U.S.C. § 1983 Claim for Failure to Provide First Aid and Medical Care
                             (Fourteenth Amendment)

       23.    Plaintiff repeats and realleges the preceding paragraphs of this complaint,

as if they were fully set out in this Count.

       ANSWER:       Defendants, restate their responses to Plaintiff’s paragraphs

one (1) through twenty-two (22) as their answer to Plaintiff’s paragraph twenty-

three (23) as though fully stated herein.



       24.    The actions of the defendant unknown John Doe Chicago Fire Department

medical personnel 1-10 defendant, defendant officer Andrew Block, defendant officer

Javier Escanio, defendant officer Ryan Leon, and other defendant unknown John Doe

officers 1-10 violated Courtney Copeland’s rights under the Fourteenth Amendment to

the United States Constitution by depriving him of first aid and medical care for the

treatment of his gun shot wound and caused the injuries alleged in this complaint.

       ANSWER:       Defendants deny Plaintiff’s paragraph twenty-four (24).




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       25.    The actions of the defendant unknown John Doe Chicago Fire Department

medical personnel 1-10 defendant, defendant officer Andrew Block, defendant officer

Javier Escanio, defendant officer Ryan Leon, and other defendant unknown John Doe

officers 1-10, as alleged in this Count of the complaint, were the direct and proximate

cause of the constitutional violations set forth above and of the plaintiffs injuries.

       ANSWER:       Defendants deny Plaintiff’s paragraph twenty-five (25).


                                      Count 2
      42 U.S.C. § 1983 Claim for Failure to Provide First Aid and Medical Care
                               (Fourth Amendment)

       26.    Plaintiff repeats and realleges the preceding paragraphs of this complaint,

as if they were fully set out in this Count.

       ANSWER:       Defendants restate their responses to Plaintiff’s paragraphs

one (1) through twenty-six (26) as their answer to Plaintiff’s paragraph twenty-six

(26) as though fully stated herein



       27.    The actions of the defendant unknown John Doe Chicago Fire Department

medical personnel 1-10 defendant, defendant officer Andrew Block, defendant officer

Javier Escanio, defendant officer Ryan Leon, and other defendant unknown John Doe

officers 1-10 violated Courtney Copeland’s rights under the Fourth Amendment to the

United States Constitution by depriving him of first aid and medical care for the

treatment of his gun shot wound and caused the injuries alleged in this complaint.

       ANSWER:       Defendants deny Plaintiff’s paragraph twenty-seven (27).




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       28.    The actions of the defendant unknown John Doe Chicago Fire Department

medical personnel 1-10 defendant, defendant officer Andrew Block, defendant officer

Javier Escanio, defendant officer Ryan Leon, and other defendant unknown John Doe

officers 1-10, as alleged in this Count of the complaint, were the direct and proximate

cause of the constitutional violations set forth above and of the plaintiffs injuries.

       ANSWER:       Defendants deny Plaintiff’s paragraph twenty-eight (28).


                                         Count 3
                                 State Law Survival Claim

       29.    Plaintiff repeats and realleges the preceding paragraphs of this complaint,

as if they were fully set out in this Count.

       ANSWER:       Defendants restate their responses to Plaintiff’s paragraphs

one (1) through twenty-eight (28) as their answer to Plaintiff’s paragraph twenty-

nine (29) as though fully stated herein.



       30.    As a direct and proximate result of the wrongful actions of the defendant

unknown John Doe Chicago Fire Department medical personnel 1-10 defendant,

defendant officer Andrew Block, defendant officer Javier Escanio, defendant officer

Ryan Leon, and other defendant unknown John Doe officers 1-10, as alleged in this

complaint, Courtney Copeland suffered serious injuries of a personal and pecuniary

nature, including but not limited to, pain and suffering experienced as he was dying from

his wounds as a result of the failure of the defendants to provide first aid and medical

care, subjecting them to liability pursuant to 755 ILCS 5/27-6, commonly referred to as

the Survival Statute.

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       ANSWER:       Defendants deny Plaintiff’s paragraph thirty (30).


                                       Count 4
                            State Law Wrongful Death Claim

       31.    Plaintiff repeats and realleges the preceding paragraphs of this complaint,

as if they were fully set out in this Count

       ANSWER:       Defendants, restate their responses to Plaintiff’s paragraphs

one (1) through thirty (30) as their answer to Plaintiff’s paragraph thirty-one (31)

as though fully stated herein.



       32.    As a direct and proximate result of the foregoing willful and wanton acts of

the Defendant and City of Chicago, Courtney Copeland died on March 4, 2016.

       ANSWER:       Defendants deny the allegations of Plaintiff’s paragraph thirty-

two (32).



       33.    Plaintiff, Shapearl Wells, Independent Administrator of the Estate of

Courtney Copeland, deceased, brings this action in her capacity as Independent

Administrator on behalf of the beneficiaries of the Estate of Courtney Copeland, all of

whom have suffered and will continue to suffer pecuniary loss as a result of the death of

Courtney Copeland.

       ANSWER:       Defendants deny the allegations of Plaintiff’s paragraph thirty-

three (33).


                                       Count 5
                         State Law Claim for Funeral Expenses

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       34.    Plaintiff repeats and realleges the preceding paragraphs of this complaint,

as if they were fully set out in this Count.

       ANSWER:       Defendants, restate their responses to Plaintiff’s paragraphs

one (1) through thirty-three (33) as their answer to Plaintiff’s paragraph thirty-four

(34) as though fully stated herein.



       35.    As a direct and proximate result of the actions of the defendants alleged in

this complaint, having been taken within the scope of each defendant's employment

with the City of Chicago, Plaintiff and the Estate of Courtney Copeland sustained losses

in the form of funeral and burial expenses.

       ANSWER:       Defendants deny the allegations of Plaintiff’s paragraph thirty-

five (35).

                                        Count 6
                             State Law Claim for Conspiracy

       36.    Plaintiff repeats and realleges the preceding paragraphs of this complaint,

as if they were fully set out in this Count.

       ANSWER:       Defendants restate their responses to Plaintiff’s paragraphs

one (1) through thirty-five (35) as their answer to Plaintiff’s paragraph thirty-six

(36) as though fully stated herein.



       37.    Defendants, together with their unsued co-conspirators, reached an

understanding, engaged and continue to engage in a course of conduct, and otherwise

jointly acted and/or conspired among and between themselves to complete false,

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inaccurate, and misleading reports, and to make false statements to superior officers in

order to conceal the wrongdoing of Defendants.

       ANSWER:       Defendants deny the allegations of Plaintiff’s paragraph thirty-

seven (37).



       38.    In furtherance of this conspiracy or conspiracies, the Defendants, together

with their unsued co-conspirators, committed the overt acts set alleged in this complaint.

       ANSWER:       Defendants deny the allegations of Plaintiff’s paragraph thirty-

eight (38).



       39.    These conspiracies are continuing.

       ANSWER:       Defendants deny the allegations of Plaintiff’s paragraph thirty-

nine (39).


                                   Count 7
   State Law Claim for Respondeat Superior Against Defendant City of Chicago

       40.    Plaintiff repeats and realleges the preceding paragraphs of this complaint,

as if they were fully set out in this Count.

       ANSWER:       Defendants restate their responses to Plaintiff’s paragraphs

one (1) through thirty-nine (39) as their answer to Plaintiff’s paragraph forty (40)

as though fully stated herein.



       41.    The defendant unknown John Doe Chicago Fire Department medical

personnel 1-10, defendant officer Andrew Block, defendant officer Javier Escanio,

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defendant officer Ryan Leon, and other defendant unknown John Doe officers 1-10

were each, at all times material to the allegations made in this complaint, employees

and agents of the Defendant City of Chicago acting within the scope of their

employment. Defendant City of Chicago is liable for the acts of each of the individual

defendants which violated state law under the doctrine of respondeat superior.

       ANSWER:       Defendant, CITY, admits that, at all times relevant hereto,

Defendants Block, Escanio and Leon were employees of the City of Chicago

acting within the scope of their employment. Pursuant to FRCP8(b)(5), Defendant

City has knowledge insufficient to either admit or deny whether it is the employer

of the unidentified “Unknown John Doe Chicago Police Officers 1-10” and

“Unknown Chicago Fire Department Personnel 1-10.” Answering further,

Defendant City denies there was any violation of state law and denies the

remaining allegations contained in this paragraph because these allegations

contain a legal conclusion and contain a vague, incomplete and/or inaccurate

statement of the law. Defendants Block, Escanio and Leon make no answer to

this paragraph as the allegations contained therein are not directed against them,

but to the extent any of the allegations contained in Plaintiff’s paragraph forty-

one (41) can be said to be directed against Defendants Block, Escanio and Leon,

said allegations are denied.


                                      Count 8
             745 ILCS 10/9-102 Claim Against Defendant City of Chicago

       42.    Plaintiff repeats and realleges the preceding paragraphs of this complaint,

as if they were fully set out in this Count.

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      ANSWER:       Defendants restate their responses to Plaintiff’s paragraphs

one (1) through forty-one (41) as their answer to Plaintiff’s paragraph forty-two

(42) as though fully stated herein.

      43.    Defendant City of Chicago was the employer of each of the defendants

officers and fire department medical personnel at all times relevant to the allegations

contained in this complaint.

      ANSWER:       Defendant, CITY, admits that, at all times relevant hereto, it was

the employer of Defendants Block, Escanio and Leon and denies any allegation of

misconduct or other wrongdoing alleged herein. Pursuant to FRCP8(b)(5),

Defendant City has knowledge insufficient to either admit or deny the remaining

allegations contained this paragraph. Defendants Block, Escanio and Leon make

no answer to this paragraph as the allegations contained therein are not directed

against them, but to the extent any of the allegations contained in Plaintiff’s

paragraph forty-three (43) can be said to be directed against Defendants Block,

Escanio and Leon, said allegations are denied.

      44.    Defendant officer and defendant fire department medical personnel

committed the acts alleged in this complaint under the color of law and in the scope of

their employment as an employee of the City of Chicago and the City is liable for their

actions under 745 ILCS 10/9-102.

      ANSWER:       Defendant, CITY, denies that the allegations contained in

Plaintiff’s paragraph forty-four (44) are a complete and accurate statement of law

and, therefore, denies the allegations contained in this paragraph and denies

Plaintiff is entitled to compensatory damages, attorney’s fees or costs.

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                        AFFIRMATIVE AND OTHER DEFENSES

      As and for their Affirmative Defenses to the Plaintiff’s Complaint, and without

prejudice to any of the previous admissions and/or denials contained in their Answer,

the Defendants, CITY OF CHICAGO, LIEUTENANT ANDREW BLOCK, OFFICER

JAVIER ESCANIO and OFFICER RYAN LEON, hereby state as follows:

               FIRST AFFIRMATIVE DEFENSE: QUALIFIED IMMUNITY

       1.    The individually named Defendant-Officers, LIEUTENANT ANDREW

BLOCK, OFFICER JAVIER ESCANIO and OFFICER RYAN LEON, were at all times

relevant herein, governmental officials, namely police officers, who perform

discretionary functions.

       2.    At all times material to the events alleged in the Plaintiff’s Complaint, a

reasonable police officer objectively viewing the facts and circumstances that

confronted the individually named Defendant-Officers, could have believed their actions

to be lawful in light of clearly established law and the information that the Defendant-

Officers then possessed.

       3.    Plaintiff’s decedent was never placed under arrest, was never restrained

or handcuffed and was treated at all times as a victim rather than a suspect.

       4.    Moreover, it will be shown that Lieutenant Block requested an ambulance

for Plaintiff’s decedent immediately after encountering him.

       5.    The Defendant-Officers are, therefore, entitled to qualified immunity as to

Plaintiff’s Count I (14th Amendment) and Count II (4th Amendment).




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                   SECOND AFFIRMATIVE DEFENSE: 745 ILCS 10/2-202

       1.    As to the state law claims (Counts II-VI), the individually named

Defendant-Officers, LIEUTENANT ANDREW BLOCK, OFFICER JAVIER ESCANIO

and OFFICER RYAN LEON, are not liable for any of the claims because at all times

relevant to the Plaintiff’s Complaint, they were public employees, who were engaged in

the execution or enforcement of the law (i.e. investigating a shooting), and none of their

acts or omissions in the execution or enforcement of the law constituted willful and

wanton conduct. (745 ILCS 10/2-202).



                 THIRD AFFIRMATIVE DEFENSE: 745 ILCS 10/6-105

       1.    As to the state law claims (Counts II-VI), the individually named

Defendant-Officers, LIEUTENANT ANDREW BLOCK, OFFICER JAVIER ESCANIO are

and OFFICER RYAN LEON and the CITY OF CHICAGO, are not liable for any injury

caused by the alleged failure to make a physical examination, or to make an adequate

physical examination, for the purpose of determining whether such person has a

physical condition that would constitute a hazard to the health of safety of himself.

       2.    Accordingly, Defendants are entitled to the protections afforded to them

pursuant to 745 ILCS 10/6-105.



              FOURTH AFFIRMATIVE DEFENSE: PUNITIVE DAMAGES

       1.    Defendant, CITY OF CHICAGO, is immune from the imposition of punitive

damages under both state and federal law.



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         2.    Moreover, under Illinois law, a unit of local government cannot be required

to indemnify its employee for punitive damages, nor may it pay a judgment for punitive

damages. See 745 ILCS 10/2-102; City of Newport v. Facts Concerts, 453 U.S. 247,

271 (1981).



              FIFTH AFFIRMATIVE DEFENSE: PERSONAL INVOLVEMENT

         1.    Defendant Officers cannot be held liable for Plaintiff’s 42 U.S.C. §1983

claims unless each individually caused or participated in an alleged constitutional

deprivation because individual liability for damages under 42 U.S.C. §1983 is predicated

upon personal responsibility. See Wolf-Lillie v. Sonquist, 699 F.2d 864, 869 (7th Cir.

1983).



                  SIXTH AFFIRMATIVE DEFENSE: 745 ILCS 10/2-109

         1.    Defendant, CITY OF CHICAGO, is not liable to Plaintiff for any state or

federal claims for which the Defendant-Officers are not liable to Plaintiff. See 745 ILCS

10/2-109; see also City of Los Angeles v. Heller, 475 U.S. 796, 799 (1986).



                           SEVENTH AFFIRMATIVE DEFENSE

         1.    Plaintiff is not entitled to attorney’s fees for his state law claims. See

Pennsylvania Truck Lines, Inc. v. Solar Equity Corp., 882 F.2d 221, 227 (7th Cir. 1989);

Kerns v. Engelke, 76 Ill. 2d 154, 166, 390 N.E.2d 859, 865 (1979); Miller v. Pollution

Control Board, 267 Ill. App.3d 160, 171, 642 N.E.2d 475, 485 (4th Dist. 1994).



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                           EIGHTH AFFIRMATIVE DEFENSE

       1.     Under the Illinois Tort Immunity Act, Defendant Officers are immune from

liability for any claims arising from an allegation of inadequate police service or related

actions. 745 ILCS 10/4-102.



                            NINTH AFFIRMATIVE DEFENSE

       1.     Under the Illinois Tort Immunity Act, Defendant Officers are not liable for

any of the state-law claims alleged because the decision as to what action to take with

regard to Courtney Copeland was a discretionary decision for which the City and its

employees are immune from liability. 745 ILCS 10/2-201.



                            TENTH AFFIRMATIVE DEFENSE

       1.     Under the Illinois Tort Immunity Act, Defendant Officers are not liable for

any of the state-law claims alleged because a public employee, as such and acting

within the scope of his or her employment, is not liable for any injury caused by the act

or omission of another person. 745 ILCS 10/2-204.



                         ELEVENTH AFFIRMATIVE DEFENSE

       1.     Under Illinois law, all actions against public employees must be

commenced within one year of the date the cause of action accrued. 745 ILCS 10/8-

101. The cause of action in this matter accrued on March 4, 2016. To that end, Plaintiff

had until March 4, 2017 to initiate a proceeding against a public employee. Plaintiff,



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however, did not file this action until March 3, 2018. As such, Plaintiff’s state law claims

are barred by the statute of limitations.

                          TWELFTH AFFIRMATIVE DEFENSE

       1.     To the extent Courtney Copeland or Plaintiff failed to mitigate any of the

claimed injuries or damages, any verdict or judgment obtained by Plaintiff must be

reduced by application of the principle that there is a duty to mitigate damages

commensurate with the degree of the failure to mitigate attributed by a jury in this case.



       WHEREFORE, Defendants, CITY OF CHICAGO, a municipal corporation,

LIEUTENANT ANDREW BLOCK, OFFICER JAVIER ESCANIO and OFFICER RYAN

LEON, hereby demand judgment in their favor and against the Plaintiff, Estate of

Courtney Copeland, deceased, by SHAPEARL WELLS, as independent administrator,

and for such other and further relief as this Court deems just and proper.

                                      JURY DEMAND

       Defendants respectfully demand a trial by jury for all issues so triable.


                                                        Respectfully Submitted,

                                                        /s/Michael R. Hartigan
                                                          Michael R. Hartigan, one of the
                                                          attorneys for the Defendants


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                                CERTIFICATE OF SERVICE


       The undersigned, an attorney, states that on the 20th day of June, 2018, he
electronically filed the foregoing document with the Clerk of the Court using the CM/ECF
system which sent notification to all counsel of record.


                                               /s/Michael R. Hartigan___        _




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